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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                      )
                                   )
            Plaintiff,             )
                                   )
     v.                            )     Case No. 1:21-cv-3271-CJN
                                   )
NANCY PELOSI, et al.               )
                                   )
                                   )




                              Exhibit P
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 4   SELECT COMMITTEE TO INVESTIGATE THE

 5   JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

 6   U.S. HOUSE OF REPRESENTATIVES,

 7   WASHINGTON, D.C.

 8

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11   INTERVIEW OF:   CASSIDY HUTCHINSON

12

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14

15                             Wednesday, February 23, 2022

16

17                                    Washington, D.C.

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20         The interview in the above matter was held via Webex, commencing at 10:10 a.m.

21         Present: Representatives Luria, Schiff, Murphy, and Cheney.
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 1   a lot of the time because he would be in meetings. So he had, in casual conversation,

 2   said:   Oh, we're going to have this big rally.   People are talking about it on social media.

 3   They're going to go up to the Capitol.     Are you seeing any of this on Twitter?

 4           And, as I previously stated, I don't frequently use social media, especially in my

 5   light of my job there, in my role with Mr. Meadows.       So I didn't have any insight or

 6   anything to add to that conversation. But, you know, I know that he had heard

 7   passer-by conversation either through word of mouth from people that would reach out

 8   to him or information he had seen online, but that's the extent of the outreach that I had

 9   with him about that matter.

10                  BY MR. GEORGE:

11           Q     When Mr. Meadows talked about some of the stuff that he had seen online

12   or in talking to other people, did he ever express any concerns about what might happen

13   on January the 6th?

14           A     Not to my recollection.     Um, not to my recollection right now, but I -- in

15   terms of marching to the Capitol, not to my recollection.

16           Q     Or just violence generally on January the 6th, even if unrelated to marching

17   to the Capitol?

18           A     I know that there were concerns brought forward to Mr. Meadows.           I don't

19   know -- I don't want to speculate whether or not he perceived them as genuine concerns,

20   but I know that people had brought information forward to him that had indicated that

21   there could be violence on the 6th.      But, again, I'm not sure if he -- what he did with that

22   information internally.

23           Q     Who brought that information to him about the potential for violence on the

24   6th?

25           A     I remember Mr. Ornato had talked to him about intelligence reports. I
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 1   mean, I'm trying to be a little cognizant of -- like the situation here because of, like,

 2   intelligence reports that were available at the time.

 3            Mr. Passantino.     Yeah, I don't think he wants you to talk about anything you

 4   believe to be classified. When you're using intelligence, like, there's two different kinds.

 5   Right.    Could be sort of ground chatter, and then there could be something you know to

 6   be classified.     They do not want you to be --

 7            Ms. Hutchinson. No, I don't know if this is classified or not.     I just remember

 8   Mr. Ornato coming in and saying that we had intel reports saying that there could

 9   potentially be violence on the 6th.       And Mr. Meadows said:    All right.   Let's talk about

10   it.

11            And I believe they went to the office for maybe 5 minutes.       It was very quick.

12   Mr. Ornato had stopped him as he was walking out one night to talk about this and --

13                     BY MR. GEORGE:

14            Q       Can I stop you there, Ms. Hutchinson? When was that, if you recall,

15   date-wise?

16            A       Had to be early January because Mr. Ornato was not -- I don't believe he

17   came back until January 2nd or 3rd from Christmas.

18            Q       Do you think it was before or after the meeting on January 2nd with Rudy

19   Giuliani?

20            A       Likely after because I believe the 2nd was a Saturday.   Again, I don't have

21   the calendar in front of me.      And I believe that Mr. Ornato's first day back was that

22   Monday.

23            Mr. George.      Very helpful.

24            And I see, Ms. Cheney, you have turned on your camera.

25            Ms. Cheney.      Yes.   Thanks, Dan.
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 1   Senator Graham.     I had gone in a couple of times, just like for documents that Mark had

 2   asked me to print out, but I was not in there for any substantive conversation about

 3   anything pertaining to the Capitol.

 4          Now, Mr. Graham was invited to stay for that phone call, but he had just flown in,

 5   and he wanted to go home.

 6          Q     Do you remember what any of the other Members who were on that call

 7   said when this issue of whether to encourage people to march to the Capitol came up?

 8          A     That was, I think, ordinary banter, people offering their ideas.   Nothing that

 9   was -- would raise any flags or relating to [inaudible]. I think that the Members that

10   were present on that call were more inclined to go with White House guidance and shoot

11   around their own ideas.

12          I remember Mr. Perry had said that he had been starting to put tweets that night,

13   Congressman Perry, that he was going to start putting out tweets that night, and he was a

14   primary participant in the call.   I remember him speaking up a lot.

15          I wasn't in the room for the entire duration of the call, but when I had ducked in, it

16   was either somebody on our end speaking or it was Mr. Perry. I know other Members

17   had chimed in at points, but I wasn't there when they had introduced themselves.

18          Q     Did Mr. Perry support the idea of sending people to the Capitol on

19   January the 6th?

20          A     He did.

21          Q     Did anybody on the call that you remember disagree with the idea of

22   encouraging people to march to the Capitol on January 6th?

23          A     Not that I recall.

24          Q     Do you remember anybody else on that call who specifically supported the

25   idea of encouraging people to march to the Capitol on January 6th?
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 1          A     I don't think there's a participant on the call that had necessarily discouraged

 2   the idea.   I wasn't present for the entire duration of the call, so I'm not sure if there was

 3   anybody that had expressed any concern, but I also don't know if everybody was

 4   necessarily encouraging it.

 5          Q     Fair enough.

 6          Now, one of the things, just to -- this is going to be kind of a long question. But

 7   one of the things that had been discussed around that time is having the Joint Session of

 8   Congress either delayed so that States could take up the issue of the election or just

 9   prevent it from happening on January the 6th at all.

10          Was that delay or idea of preventing the Joint Session from going forward on

11   January 6th a topic that came up in this meeting with Rudy Giuliani and Mr. Meadows?

12          A     Not that I was present for.

13          Q     Okay.    Do you remember it coming up in the call with the House Freedom

14   Caucus members, to the extent that that was any different?

15          A     Not specifically on the call, no.   Again, I was in and out of the room.    No.

16          Mr. George.     Okay.   I'll stop there and see if anybody else has any questions,

17   any members, including the room.

18                  BY MS. APECECHEA:

19          Q     Ms. Hutchinson, just a quick question.

20          I think you mentioned something that it was your perception that the Members

21   on the call with the House Freedom Caucus, they were inclined to go along with the

22   White House guidance. And I was just wondering, what did you understand the White

23   House guidance to be on this issue?

24          A     You know, during the time of this call, the call was -- we had -- the call was

25   underway because we were talking about events on the 6th.         So I believe it was more of
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 1   an update call just about what we were anticipating. Any strategies that had been

 2   discussed, I wasn't involved for any, you know, strategic discussions. You know, I had

 3   overheard discussions about what he had anticipated just by nature of, like, the logistical

 4   aspects of what I was doing for them at the time. But there wasn't anything that stood

 5   out to me as anything that would be a specific answer to your question that had

 6   happened on that call that night.

 7          Q     So you mentioned, like, Representative Perry saying that he would put out

 8   some tweets. Do you recall if that was something he just offered on his own or

 9   someone had said, "Hey, would anyone, you know, want to put out some tweets about

10   marching"?

11          A     It was more -- I understood it as more of him offering his support and

12   helping in any way that he could.

13          Q     But this was after it had already been raised about putting it out there about

14   encouraging people to march to the Capitol?

15          A     As a topic of conversation on the call, yes.

16          Q     Do you recall anyone -- any other Members saying that they wouldn't

17   encourage people to march to the Capitol on the 6th?

18          A     No.    I mean, I don't recall every single participant on the call that night, but

19   I do recall it was a Freedom Caucus call.   But, again, I was present primarily when it was

20   Mr. Meadows speaking, Mr. Giuliani speaking, and I remember going in when Mr. Perry

21   had spoken. You know, Mr. Jordan had chimed in a few times I remember, but it wasn't

22   anything substantive in terms of putting tweets out.     It was more of he was one of the

23   lead participants on the call.   So he was kind of facilitating the call more from the aspect

24   of I have Mr. Babin in line to have -- he has a comment to say next.     But that was -- I

25   don't recall any other Members specifically chiming in on that idea other than Mr. Perry.
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 1   strategic action that the Vice President could take.

 2           Q      Okay.   And so when then -- just to clarify, when was the first time you

 3   remember, to use your phrase, the issue of strategic action the Vice President could take

 4   on January 6th coming up?

 5           A      Again, potentially the end of November-early December.

 6           Q      Do you remember the context in which it first came up that you recall?

 7   Was it a meeting, a phone call, chat during just office drop-ins?

 8           A      I don't recall specifically the very first time that I had heard about it.    I

 9   remember general timeframe that I had -- I recall this happening was there were a couple

10   meetings that Mr. Meadows had where meeting participants had come in prepared with

11   information about ways that they think the Vice President could approach certifying the

12   electoral college votes.

13           But I don't -- the very first time, I can't -- I don't recall the very first time I heard

14   about it.    But in the earlier stages of it, there were -- it was mostly just meeting readout

15   information.

16           Q      Okay.   And you just mentioned a couple meetings Mr. Meadows had with

17   various people.     Who were the various people who were raising this idea of the Vice

18   President doing anything other than just counting electoral votes on January the 6th?

19           A      Campaign officials and a few Members of Congress.           I say campaign

20   officials.   I don't -- I think the campaign had begun off-boarding people at that point, so I

21   don't -- I don't know if they were private citizens at that point or -- not that campaign

22   officials weren't, but I don't know if they were off-boarded but still involved in the efforts.

23   People that were once involved with the campaign and a handful of Members of

24   Congress.

25           Q      Who were those campaign officials or people who had been involved in the
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 1   campaign?

 2           A        Mr. Giuliani, Ms. Powell, Ms. Ellis.    I'm trying to think specifically about the

 3   early stages of this -- stages of this.     Those are the ones that I can immediately recall.

 4           Members of Congress:           Mr. Perry, Mr. Jordan.    Mr. Scott Perry, Mr. Jim Jordan.

 5   Those are the two that jump to my mind right now about being -- oh, Ms. Marjorie Taylor

 6   Greene and Lauren Boebert are the four Members that immediately jump out to me.

 7   Again, I'm trying to hone in specifically on the beginning stages of this, these

 8   conversations.

 9           Q        Perfect.

10           Mr. Passantino.         And he'll appreciate like if you have a specific recollection of

11   timeline or you don't. He wants to know what your --

12           Ms. Hutchinson. Yeah.            I recall those individuals being involved in the earlier

13   stages at this time.        I'm sure there were other individuals involved, but those are ones

14   that I remember specifically being involved that Mr. Meadows had outreach to.

15                      BY MR. GEORGE:

16           Q        Okay.      And this is in the late November, maybe early December timeframe.

17   Is that right?

18           A        Sometime after Thanksgiving. Definitely before Christmas. Probably the

19   first week of December if not the last week of November.

20           Q        And do you remember what their ideas were with respect to the Vice

21   President's authority on January 6th?

22           A        I don't.    I don't have access to any of my official devices or correspondence.

23   I'm sure I had things in my work email.         But specific actions, no.   I just remember

24   general -- general correspondence of Vice President may be able to do this.            We should

25   look into this.     We should explore these ideas.        But nothing more specific than that
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 1   little bit quicker.

 2           Q     And then the next message is:       "Mark is super stressed and Rudy is

 3   wandering around with more evidence."

 4           What was Mr. Meadows stressed about, if you know?

 5           A     I don't know specifically. I don't recall specifically what he was stressed

 6   about at that time that I sent that message. Sorry.

 7           Mr. Meadows had spent probably the first couple minutes of the rally in the tent,

 8   and then he -- if you're looking at the build-out of the Presidential motorcade, the chief of

 9   staff and typically one other national security representative go in a car called the control

10   car, which is a -- it's technically a SCIF.   You can make secure calls from there.     But

11   sometimes the chief would just go into the control car to make personal phone calls.

12   And that's where he spent the majority of the rally.

13           I know that he was on several calls during the rally.    And I went over to meet

14   with him at one point, and he had just waved me away, which is out of the ordinary.

15   And then he popped out and had mentioned a few things to me.

16           Q     What did he mention to you?

17           A     But I don't know what he specifically was stressed about.      He wanted to

18   speak with Mr. Giuliani. He couldn't get a hold of Mr. Jordan.        Little administrative

19   things that he needed help with to streamline the early afternoon so he could continue

20   doing his job with the President.

21           Q     Do you know what he wanted to speak with Representative Jordan about?

22           A     I don't know.     I know that he had spoken with Mr. Jordan about the

23   contents of what Mr. Jordan's floor speech were going to be and -- was going to be and

24   the timing of Mr. Jordan's floor speech, but I don't know any more specifics than that.       I

25   don't know if that's what he was trying to get a hold of -- get a hold of him for in that
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 1   moment.

 2             Q       Do you know what the significance -- I'm sorry, go ahead.

 3             A       You're fine.

 4             I was not around -- I was not around Mr. Meadows. I probably was around him

 5   for maybe 40 to 50 percent of the rally but not the entirety of it.

 6             Q       Do you remember what the significance of this timing of Representative

 7   Jordan's floor speech was to Mr. Meadows?

 8             A       I think that -- I don't think. He wanted Mr. Jordan to give the floor speech

 9   after the rally had ended. And I'm under the impression that the intentions behind that

10   were so when we arrived back at the White House, that staff and the President could

11   watch Mr. Jordan's floor speech live.

12             Q       You also say in that message, "Rudy is wandering around with more

13   evidence." What does that mean?

14             A       Mr. Giuliani had information that he believed was credible enough to pause

15   the electoral count that morning -- or that afternoon.

16             Q       Do you know what happened with that evidence?

17             A       I don't.

18             Q       Do you know what Mr. Meadows' view on that was, whether there was

19   credible evidence to pause the electoral count during the joint session on January 6th?

20             A       Mr. Meadows was always willing to hear ideas, as he never wanted

21   information to go unheard and for it not to be perceived as legitimate information in case

22   it was.       But I don't know his specific -- I don't know his specific mindset or opinions on

23   which evidence was seen as more credible to him, if any at all.        That's something that

24   you'd have to ask Mr. Meadows.

25             Q       Okay.      But he never shared his views on whether there was sufficient
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 1   have been the time roughly that I would have arrived back in.

 2           Q       Do you know -- do you know where the President went when he returned?

 3           A       I was a couple cars behind him, so I'm not sure if he made any other

 4   movements, if he stopped anywhere between walking from West Executive Avenue up to

 5   the Oval Office or the Oval dining room.      So when I had got into the West Wing, he was

 6   in the Oval dining room.

 7           Q       How do you know that?

 8           A       Because I heard it announced on my radio which announces the President's

 9   logistical movements.

10           Q       Okay.   And is that a Secret Service channel on the radio that you heard

11   this?

12           A       Yes.

13           Q       Did you ever see the President in the dining room that afternoon?

14           A       I wasn't present with the President in the dining room that afternoon.      It's

15   very possible just by proximity of the layout of the West Wing that I physically saw him,

16   but I saw him in the dining room a lot.     I know that might sound like a kind of broad

17   statement to say to you all.     I just can't recall if I had eyes on him in the dining room that

18   specific day.

19           Mr. Meadows was in there with him in and out throughout the day, and there was

20   a point where I had walked maybe 25 feet from the main chief of staff office. I had

21   walked down there at one point to relay a message to Mr. Meadows from a Member that

22   had reached out to me on my work phone, and I had asked the President's valet to get

23   Mr. Meadows' attention for me, and he opened the door.           So maybe I saw Mr. Trump at

24   that point. But other than that, I wasn't in there with him at any point.

25           Q       And other than that, were you -- did you stay in your office that afternoon
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 1   butler's pantry, and that's where the President's military valet would be, and then the

 2   Oval dining room.

 3           And so I asked the valet to get the chief of staff for me.      The valet opened the

 4   door.   Chief of staff stepped out.      And I had relayed the message from Mr. Jor- -- Jim

 5   Jordan, Congressman Jim Jordan at the time.            He had called my work cell phone, and

 6   brief conversation, Hey, where's Mark?         I told him he's down with the President. He

 7   said, Can you please have him call me?         And I went and asked Mr. Meadows to give Mr.

 8   Jordan a call.   And he said, All right, I'll do it.   And then I went back to my desk.

 9           Ms. Cheney.     Okay.     And we'll walk through exactly the timeframe on that.        I

10   just wanted to make sure we got who the Member was and what the message was.

11           But do you recall approximately either what time that would have been or, in

12   terms of what was happening at the Capitol, just a sense of when Mr. Jordan called you?

13           Ms. Hutchinson. I don't.        I'm sorry.     I'm trying my best to remember.    I don't

14   remember right now.

15           Ms. Cheney.     Okay.     That's --

16           Ms. Hutchinson. It was after I had the conversation with Mr. Meadows when I

17   had seen the security perimeter being breached at the Capitol.          You know, I wouldn't -- I

18   would say maybe an hour after that.

19           Ms. Cheney.     Okay.     And so when you went in and you told him that the

20   security perimeter was breached and, you know, he said thank you, and he said he was

21   going to sort of see what he could see about it, what do you recall him doing after that?

22           Ms. Hutchinson. I just left his office and shut the door behind me.

23           Ms. Cheney.     Okay.     And do you recall how much longer he stayed in his office

24   after that?

25           Ms. Hutchinson. Not specifically, no.          A little while later, there was some
